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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                 §
  AMERICA,                                      §
                                                §
        Plaintiff and Counter-Defendant         §
                                                §
                                                §
  v.                                            §
                                                § Civil Action No. 3:19-cv-02074-G
  ACKERMAN MCQUEEN, INC.,                       §
                                                §
        Defendant and Counter-Plaintiff,        §
                                                §
                                                §
  and                                           §
                                                §
  MERCURY GROUP, INC., HENRY                    §
  MARTIN, WILLIAM WINKLER, and                  §
  MELANIE MONTGOMERY,

        Defendants.


       PLAINTIFF THE NATIONAL RIFLE ASSOCIATION OF AMERICA’S
 REPLY IN SUPPORT OF MOTION TO DISQUALIFY DORSEY & WHITNEY LLP OR,
               IN THE ALTERNATIVE, FOR PROTECTION OF
                THE NRA’S CONFIDENTIAL INFORMATION

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                                          ASSOCIATION OF AMERICA




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                                  I.     PRELIMINARY STATEMENT

        On January 6, 2022, the NRA learned for the first time that its side-switching former

counsel—who told the NRA that he only provided fleeting assistance on “procedural matters” to

AMc in prior lawsuit—actually had substantive case-strategy discussions with Dorsey on topics

central to this case. The NRA sent multiple meet-confer letters (and filed a prior, pending motion) 1

seeking a document-by-document privilege log that could dispel the appearance of a disqualifying

conflict. Defendants rebuffed those efforts, so the NRA, with guidance from an eminent ethics

expert, 2 sought relief. 3

        Defendants’ burden in response to the Motion is clear: “provid[e] probative and material

evidence” that Dycio did not disclose the NRA’s confidential information. 4 Instead, Defendants’

Opposition 5 relies on cursory, evasive declarations from Dorsey lawyers who “do not recall . . .

believ[ing] or understand[ing]” that Dycio was disclosing confidences obtained in a prior attorney-

client relationship. 6 But Defendants’ own cases emphasize 7 that this is not enough: if Dycio shared

the NRA’s confidential information, even with lawyers who were unaware of his misconduct, an

incurable conflict exists. Tellingly, the Opposition is silent on the subject matter, volume, and

frequency of Dorsey’s communications with Dycio, even though such information could be



1
  See ECF No. 533, Objections to Categorical Log.
2
  Professor Eads has supplemented her earlier declaration in connection with this reply. See Declaration of Sarah B.
Rogers, dated February 28, 2022 (“Rogers Decl.”), Ex. 1, Supplemental Expert Declaration of Professor Linda Eads,
dated February 28, 2022 [App. 003-09].
3
  See ECF No. 557, the NRA’s Motion to Disqualify Dorsey & Whitney LLP or, in the Alternative, for Protection of
Confidential Information (the “Motion”).
4
  See In re Am. Home Prod. Corp., 985 S.W.2d 68, 81 (Tex. 1998).
5
  The “Opposition” shall refer to Defendant’ Response in Opposition to the NRA’s Motion to Disqualify Dorsey &
Whitney LLP Or, in the Alternative, for Protection of Confidential Information and Defendants’ Motion for Sanctions
(ECF No. 581).
6
  See Declaration of J. Brian Vanderwoude, ECF No. 583-7, Ex. D [App. 0019] (emphasis added); see also Declaration
of Gina Betts, ECF No. 583-7, Ex. B [App. 0014] (same language); Declaration of Jay J. Madrid, ECF No. 583-7, Ex.
C [App. 0016] (“I know of no instance in which I believed or understood.”).
7
  See ECF No 581, Defendants' Response to the NRA’s Motion to Disqualify, p. 13, citing In re Am. Home Prod. Corp.,
985 S.W.2d at 81.

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divulged without compromising privilege. 8 The NRA believes that there is a reason for this: the

Categorical Log is correct, and Dycio’s involvement in Defendants’ litigation strategy was much

deeper than previously admitted.

         Unable to rebut the presumption that NRA confidences were shared, Defendants insist that

Dycio never represented the NRA at all, or his representation had nothing to do with the instant

case, or the NRA waited too long to raise the conflict that Defendants concealed. These arguments

contradict detailed, sworn testimony from NRA executives, contemporaneous attorney invoices, and

even Dycio’s response to an auditor inquiry. Defendants’ assertion that the NRA waived the

substantive rights asserted in the Motion is particularly untenable given the timeline (distilled in

Exhibit 2 hereto) of the NRA’s diligence and Defendants’ secrecy. 9 In sum, in 2019, the NRA was

told that Dycio’s brief work for AMc concerned “procedural matters.” In June 2021, the NRA was

substantially all responsive documents had either been produced or logged. When both

representations turned out to be false, the NRA swiftly asserted its rights.

         As the Motion emphasizes, the Court may order alternative safeguards to firewall

improperly-shared confidences. However, some form of relief is required. Moreover, if sanctions in

the form of fees or costs are awarded, they should be awarded to the NRA.

                                          II.   ARGUMENT

         Dycio Had A Disqualifying Conflict.

         1. The record firmly establishes Dycio’s attorney-client relationship with the NRA.

         An attorney-client relationship arises when (i) a person manifests consent to a lawyer the

person’s intent that the lawyer provide legal services, and (ii) the lawyer either manifests consent to


8
  For example, parties are routinely ordered to identify the “subject matter” of each of their privileged communications
as part of the privilege-log process. See, e.g., Crostley v. Lamar Cty., Texas, No. 5:10CV17, 2011 WL 13134887, at *6
(E.D. Tex. June 23, 2011).
9
  See Declaration of Sarah B. Rogers, dated February 28, 2022 (“Rogers Decl.”), Ex. 2, Timeline of Defendants’
Nondisclosures and the NRA’s Efforts to Obtain Documents (the “Timeline”) [App. 010-11].

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provide them, or fails to manifest nonconsent under circumstances where the lawyer reasonably

should know that the person relies on him to provide legal services. 10 In detailed testimony that the

Opposition ignores, LaPierre identifies topics on which he, and other NRA executives, 11 sought

legal advice from Dycio on behalf of the NRA. These include “the NRA’s review of vendor

relationships,” 12 a regulatory investigation where the NRA’s oversight of AMc was a significant

issue, 13 and the Audit Committee’s efforts to “determine whether major vendors, such as AMc,

were complying with their contracts.” 14

         Importantly, the Dycio Firm never told the NRA that it viewed its representation as limited

to LaPierre individually 15—even though Dycio had clear notice that the NRA viewed the Dycio

Firm as NRA outside counsel. For example, during the NRA’s annual audit-letter process, Dycio

responded that he had no loss contingencies to report—but never told the NRA or its auditors that

he was not NRA counsel. 16 Therefore, even if there had not been an explicit, mutual understanding

that Dycio represented the NRA, an attorney-client relationship would have arisen based on Dycio’s

“consent or failure to object.” 17 Finally, even if Dycio merely represented the NRA’s chief




10
   Restatement (Third) of the Law Governing Lawyers § 14 (2000). The Restatement is authoritative in the Fifth Circuit.
See, e.g., Hopper v. Frank, 16 F.3d 92, 95 (5th Cir. 1994) (finding attorney-client relationship with entity, not individual
executives, and citing Restatement).
11
   See ECF No. 567-1, Ex. 12, LaPierre Decl. [App. 689–694]. The NRA’s General Counsel testifies similarly that Dycio
represented the Association. See ECF No. 567-1, Ex. 9, at Ex. H, Declaration of John Frazer, dated March 13, 2020, p.
2 [App. 362].
12
   Id. ¶¶ 6-7.
13
   Id. ¶ 7.
14
   Id. ¶ 10. Dycio was invited to attend this closed meeting in his capacity as NRA counsel, along with other named
NRA counsel. See ECF No. 567-1, Ex. 9, at Ex. H, Declaration of John Frazer, dated March 13, 2020, p. 2 [App. 362].
15
   Rogers Decl., Ex 3, Declaration of John Frazer (“Frazer Decl.”), dated February 28, 2022, ¶ 2-3 [App. 013-14].
16
   Id. Nor did Dycio clarify his status at the September 2018 Board meeting where NRA counsel were invited to remain
for a closed-door, privileged discussion of the NRA’s handling of whistleblower complaints and its plan to examine
records at AMc. See ECF No. 567-1, Ex. 9, at Ex. H, Declaration of John Frazer, dated March 13, 2020, p. 2–3 [App.
362–63].
17
   Restatement (Third) of the Law Governing Lawyers § 14 (2000), cmt. e.

                                                             3
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executive, until April 22, 2019, 18 and not the NRA, with respect to the matters attested, LaPierre

and the NRA had common interests concerning the NRA’s oversight of its vendors and its response

to related whistleblower concerns—giving rise to an identical conflict. 19

         2. Dycio’s representation of the NRA substantially related to Dycio’s work for AMc.

         Two matters are “substantially related” for conflicts purposes if “a genuine threat exists that

a lawyer may divulge in one matter confidential information obtained in the other because the facts

and issues involved are [] similar.” 20 Even if a lawyer’s prior representation had a different “focus”

than his subsequent, conflicting one, the Fifth Circuit has found that the matters are “substantially

related” if overlapping issues were “also raised.” 21 The Opposition ignores evidence of legal

services rendered by Dycio on topics central to this lawsuit, focusing almost entirely on the Lockton

litigation and the NRA’s September 2018 board meeting. 22 AMc’s artificial narrowing of the topics

at issue is unavailing. In fact, Dycio represented the NRA in communications with AMc about the

NRA’s record-examination efforts 23 and participated in privileged, strategic meetings about

“whether major vendors, such as AMc, were complying with their contracts.” 24 Dycio not only

knew which records the NRA sought to examine, but knew the import of those records to the NRA’s




18
    See Rogers Decl. Ex. 4, Affidavit of Mark Dycio, dated March 5, 2020, at ¶ 22 [App. 019]. Indeed, Dycio’s admission
of his representation of Wayne LaPierre until April 22, 2019 is striking. Dycio concedes at a minimum that he
concurrently represented AMc and the Executive Vice President of the NRA in matter where their interests were clearly
adverse.
19
    See, e.g., Felix v. Balkin, 49 F. Supp. 2d 260, 270 (S.D.N.Y. 1999) (disqualifying counsel because "[counsel] could
[] reasonably believe that its representation of [the employer] could extend to the representation of [employee]" due to
the common interest of the employer and employee).
20
   In re Goodman, 210 S.W.3d 805, 812 (Tex. App. 2006) (internal citations and quotation marks omitted).
21
    See, e.g., In re Am. Airlines, Inc., 972 F.2d 605, 621 (5th Cir. 1992) (“Northwest argues that the Texas cases are not
substantially related to this case because the allegations in these cases, unlike in California, pertained only to CRS
services, not air transportation services. We disagree. While the focus was certainly CRS systems, the plaintiffs also
raised claims involving air transportation markets.”).
22
    See ECF No. 581 at 14-16.
23
    ECF No. 567-1, Ex. 12, LaPierre Decl., ¶ 12 [App. 692–93].
24
    Id. at ¶ 10 [App. 593]. Dycio was invited to attend this closed meeting in his capacity as NRA counsel, along with
other named NRA counsel. See ECF No. 567-1, Ex. 9, at Ex. H, Declaration of John Frazer, dated March 13, 2020, p.
2 [App. 362].

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regulatory concerns in New York (on which Dycio also advised). 25 Thus Defendants, drawing on

Dycio’s confidences, were perfectly positioned to prejudice the NRA by wielding its own executive-

expense inquiries against it in the pivotal April 22, 2019 Winkler letters which Dycio presumably

helped to draft. 26 On its face, the Categorical Log admits that Dycio provided case-strategy advice

and prepared written work product on topics central to this lawsuit. 27 These topics include the same

“NRA[] audits of AMc” about which Dycio advised, 28 and the same “[o]ut of pocket expenses” that

the NRA sought to examine in response to whistleblower concerns. 29 Further, the January 6, 2021

log entries disclose for the first time that Oliver North was the subject of communications involving

Dycio and Defendants. North’s contractual relationship with AMc figured prominently in the Audit

Committee’s compliance efforts; and, his obstructionist behavior with respect to the NRA’s

attempted book and records examination fomented the “extortion/coup” litigation. The record

demonstrates Defendants’ concealment with respect to North. On October 22, 2021, seven days

before the close of discovery, Defendants disclosed for the first time that they were withholding as

allegedly privileged 241 communications concerning North. 30 Then on January 6, 2022, Defendants

revealed for the first time that they were withholding additional distinct “categories” of documents

concerning North.31 As these facts establish, any “delay” concerning this motion was created solely

by AMc’s studied withholding of information. By October 22, 2021, AMc and its counsel obviously

knew that matters with respect to North, who they tout as a central witness, were essential to be

logged. Yet, they stalled another three months before revealing additional materials relating to North



25
   ECF No. 567-1, Ex. 12, LaPierre Decl., ¶¶ 6–7 [App. 690–91].
26
   The Categorical Log asserts that Dycio prepared written work product on issues including the April 22 Winkler letters.
See ECF No. 487-2, AMc’s Supplemental Categorical Log (“Categorical Log”), at Categories 11, 12, 13, 14.
27
   See id.
28
   See ECF No. 567-1, Ex. 12, LaPierre Decl., ¶ 5 [App. 690].
29
   See ECF No. 487-2, Categorical Log, at Categories 11–14.
30
   See, e.g., ECF No. 571, Pl. Mot. In Limine No. 3 at p. 5-6, see also id. at FN 14.
31
   Id.

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that encompass communications that egregiously also involve the NRA’s side-switching lawyer.

         Defendants’ make-weight argument that Dycio only represented AMc in the previous

Virginia lawsuit, not this one, is frivolous. 32 The cases are so similar that the Virginia litigation was

stayed pending adjudication of this case, 33 and the affirmative-claim allegations crafted with

Dycio’s help 34 in the Virginia litigation are substantially reproduced here. 35

         Dycio Transmitted His Conflict to Dorsey.

         Defendants concede that the NRA need only show “substantive conversations,” and/or an

exchange of “confidential information,” among Dycio and Dorsey in order to raise the presumption

that Dycio’s conflict transmitted to Dorsey. 36 The NRA shows both, and Defendants’ opposing

proof is more notable for what it omits than the (scant) declarations proffered.

         1. Dycio had “substantive conversations” and exchanged “confidential information”

         The Categorical Log indicates that Dycio engaged in “[c]onfidential communications” for

purposes of “legal advice and case strategies after the commencement of litigation,” and moreover

that Dycio “prepared” emails, attachments, and other written work product, regarding issues

including the Services Agreement, the April 22 Winkler letters, billing and invoicing, out-of-pocket

expenses, travel-security arrangements, and the NRA’s record-examination efforts. 37 In doing so,


32
   See ECF No. 581, Defendants’ Response to NRA’s Motion to Disqualify, p. 6–10.
33
   See Case No. 2019-17571 (Fairfax Cir. Ct.).
34
   See ECF No. 487-2, Categorical Log, at Category 14 (withholding work product “prepared by counsel [Dycio]”
regarding “AMc’s affirmative claims.”).
35
   See Rogers Decl., Ex. 5, AMc’s Answer, Plea in Bar, and Counterclaim, Case No. CL19001757, p. 35– 43 [App. 055-
63]; compare ECF No. 241, AMc’s Second Amended Counterclaim Against the NRA, p. 66–73 (setting forth AMC’s
counterclaim for breach of contract for the same allegations set forth in the Virginia action).
36
   See ECF No. 581, AMC’s Response, at 13-14, citing Am. Home Prods.
37
   See Categorical Log Category No. 14. Notably, although Categories 11-14 assert privilege and work product on an
identical list of substantive topics, and contain identical language identifying confidential case-strategy communications
and “[e]mails and attachments . . . [and other] documents prepared by counsel,” Category 14 identifies Dycio as the sole
counsel involved in such communications—not Dorsey or any other firm. Thus, if the assertions in Category 14 are
true, it was Dycio—not other counsel—who prepared at least some of the written work product constituting or relating
to the April 22 Winkler letters, AMc’s affirmative claims, and other items listed. This also suggests that Dycio did not
play a mere ancillary, supporting local-counsel role; instead, he liaised directly with AMc’s executive control group
(Category 14) while simultaneously communicating on the same topics with Dorsey and other lawyers (Categories 11-
13).

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Dycio liaised directly with AMc’s executive control group, communicating simultaneously with

Dorsey and other counsel. 38 Before filing the Motion, the NRA went out of its way to obtain

additional context and clarity about these privilege-log entries 39 Defendants refused to provide any

further information. 40

         Now facing a disqualification motion, Defendants assert (unsworn) in their brief that Dycio

was only “a recipient of emails.” 41 If this were true, Defendants could have attested to it in their

declarations (which are substantially silent on the subject matter and depth of Dycio’s involvement),

or proved it by providing the document-by-document privilege log that the NRA repeatedly

requested. Defendants have done neither. The most straightforward inference is that the assertions

in the Categorical Log are truthful: Dycio had substantive “case strateg[y]” 42 conversations, and

exchanged confidential information embodied in a flurry of calls, emails, 43 and written work

product, with both AMc leadership and Dorsey.

         2. Defendants fail to rebut the presumption that Dycio shared the NRA’s confidences.

         Burdened to “provid[e] probative and material evidence” that Dycio did not disclose the

NRA’s confidential information, 44 Defendants offer cursory declarations from three Dorsey partners

who communicated with Dycio. These declarations do not deny the occurrence of “substantive

conversations” with Dycio or the receipt of “confidential information” from Dycio. Instead, the

Dorsey lawyers each attest that they do not know of an instance in which Dycio disclosed




38
   Id.
39
   See ECF No. 537, Ex. 6, Letter from P. Furia to B. Mason, dated January 13, 2022 [App. 0097-101].
40
   Id.
41
   ECF No. 581, Defendants’ Response to the NRA’s Motion to Disqualify, p. 14.
42
   See ECF No. 487-2, Categorical Log, at Categories 11-14.
43
   See ECF No. 567-1, Ex. 10, Dep. Tr. of Danielle Quinn, dated Jan. 27, 2022, at 225:16-226:2 [App. 599].
44
   See In re Am. Home Prod. Corp., 985 S.W.2d 68, 81 (Tex. 1998) (“The party resisting disqualification of co-counsel
may rebut the[s] presumption [of a disqualifying conflict] by providing probative and material evidence that the tainted
person, in this case Herrera, did not disclose confidential information of his adversary.”).

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confidences learned during a prior representation, 45 and do not recall “believ[ing] or

understand[ing]” that such confidences were being shared. 46 But this is not enough: The Opposition

and supporting declarations do not provide a description of the subject matter of the communication

to which Dycio and his colleague were involved. Having failed to do so, they fail to rebut the

presumption of shared confidences. 47 Instead, Defendants evaded and resisted providing a privilege

log for two years until ordered by this Court, 48 and still refuse to provide a document-by-document

log of the communications that are the subject of this Motion. 49 Defendants cannot continue to

conceal such information and rebut the inference of an imputed conflict here.

         The NRA Did Not Waive Its Right to Redress Conflicts that Defendants and Dycio
         Concealed.

         The NRA first raised this conflict immediately after Dycio purported to send a document-

preservation notice on AMc’s behalf. 50 Out of an abundance of caution, it inquired about

communications between Dorsey and Dycio in May 2019, 51 and was reassured—falsely—that

Dycio only provided “assist[ance] with Virginia procedural matters.” 52 If Defendants had complied

with their Rule 26 disclosure or discovery obligations, the NRA would have learned of the existence

of the Dycio communications during 2020. 53 Defendants did not. In fact, Defendants told the NRA



45
   See ECF No. 583-6, Ex. C, Declaration of Jay Madrid, dated February 25, 2022, at ¶ 5 [App. 0016]; Ex. B, Declaration
of Gina Betts, dated February 25, 2022, at ¶ 4 [App. 0014]; Ex. D, Declaration of J. Brain Vanderwoude, dated February
25, 2022, at ¶ 5 [App. 019].
46
   See ECF No. 583-6, Ex. C, Declaration of Jay Madrid, dated February 25, 2022, at ¶ 5 [App. 0016]; Ex. B, Declaration
of Gina Betts, dated February 25, 2022, at ¶ 4 [App. 0014] ; Ex. D, Declaration of J. Brain Vanderwoude, dated February
25, 2022, at ¶. 5 [App. 019].
47
   See, e.g., Crostley v. Lamar Cty., Texas, No. 5:10CV17, 2011 WL 13134887, at *6 (E.D. Tex. June 23, 2011) (“The
privilege log shall set forth the dates, authors, and subject matters of all documents being withheld and shall indicate
those individuals with whom all such documents have been shared.”).
48
   See ECF No. 453, Ex. B, Transcript, dated Dec. 15, 2021 (the “Transcript”), at 53:18-54:2 [App. 056-59].
49
   ECF No. 534, Ex. 8, Letter from B. Mason to P. Furia, dated January 21, 2022 [App. 0108–111].
50
   ECF 535, Ex. 3. Letters from M. Dycio regarding Document Preservation, dated April 16-17, 2019 [App. 0015–26].
51
   ECF No. 567-1, Ex. 9, at Ex. G, Letter from W. LaPierre to M. Dycio, dated May 8, 2019 [App. 355].
52
   ECF No. 567-1, Ex. 9, at Ex. Q, Letter from D. Quinn to W. LaPierre, dated May 21, 2019 [App. 536].
53
   See ECF No. 557 at 16. (NRA served discovery request to which the documents in Categories 11-14 of the Categorical
Log are responsive in February 2020); ECF 409 at Ex. A-3, AMc Privilege Log (Dec. 9, 2020) [APP11-49] (omitting
any mention of Dycio).

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in June 2021 that its discovery response was substantially complete: no additional responsive

documents were lurking undisclosed. 54 After the NRA concluded that Defendants’ assurance

appeared false, it grappled with three successive amended privilege logs that still omitted the Dycio

communications now known to exist. The NRA then filed its motion to compel. 55

        In January 2022, the Categorical Log revealed that Dycio provided substantive

representation on topics germane to his prior work for the NRA (not mere “procedural matters”).56

The NRA sent multiple meet-confer letters, and filed an already-pending motion, seeking clarity on

the Dorsey-Dycio communications. 57 After Defendants ignored the NRA’s final letter emphasizing

the “appearance of an incurable, disqualifying conflict of interest,” 58 the NRA filed the Motion.

Under such circumstances, Defendants’ accusations of a tactical delay are meritless, and no grounds

for waiver exists. 59 Indeed, the real victim of delay here is the NRA: if Defendants had furnished a

compliant privilege log in 2020 instead of hiding documents, misrepresenting the completeness of

their discovery response, and stonewalling the NRA’s efforts to resolve its meritorious privilege-

log concerns throughout the Fall of 2021 before finally acceding to a categorical log in response to

a motion to compel, these issues could have been resolved sooner. Instead, the NRA faces imminent

trial with responsive documents from Defendants still outstanding, and freshly-surfaced conflict

concerns unresolved.

        If Sanctions Are Awarded, They Should Be Awarded In Favor of the NRA.

        Defendants’ accusation of “bad faith” and their demand for sanctions based on the allegation


54
   See Rogers Decl., Ex. 6, Letter from B. Mason to P. Furia, dated June 16, 2021 [App. 084-87].
55
   ECF No. 397, NRA’s Memorandum of Law in Support of its Motion to Compel Certain Documents Withheld Under
Deficient Claims of Privilege.
56
   ECF No. 567, Ex. Q [App. 536].
57
   See, e.g., ECF No. 567-1, Ex. N [App. 528].
58
   ECF No. 567-1, Ex. 13, Letter from Sarah B. Rogers to Brian E. Mason, dated February 18, 2022 [App. 695-697].
59
   See, e.g., Rio Hondo Implement Co. v. Euresti, 903 S.W.2d 128, 131 (Tex. App. 1995) (rejecting waiver, where party
seeking disqualification spent two preceding months exchanging telephone calls and letters in an effort to resolve the
conflict).

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that the Motion diverted their trial-preparation efforts is beneath serious consideration. 60 The record

in this case establishes Defendants’ two pronged strategy of withholding documents and not logging

them. 61 Defendants’ complaint that they had to respond to this motion last week, is due solely to

their delay in producing the log until January 2022. Defendants should not be heard to complain

about this motion, which the NRA was forced to file in reaction to Defendants’ plan to conceal the

extensive involvement of NRA’s counsel with them. The prejudice to the NRA has been profound,

prejudicing both the discovery program and the NRA’s trial preparation. Rather than preparing for

trial, the NRA was forced to file motions, including this one, to obtain documents and logs of

materials that were withheld because of the unprecedented malfeasance of Defendants and their

counsel. The NRA has confronted months of delay, tactical document dumps, 62 and successive

contrived amended privilege logs that became a high stakes game of hide and seek. 63 If the Court

is inclined to impose sanctions, it should find that AMc and their counsel acted in bad faith, and

should award the NRA fees and costs.

                                        III.    PRAYER FOR RELIEF

        For all the reasons stated above, the NRA respectfully requests that the Court deny

Defendants’ motion for sanctions, grant the Motion and the relief sought therein, and award the

NRA its attorneys’ fees and costs incurred bringing the Motion. The NRA also requests that the

Court deny AMc’s “request for a ruling” concerning the NRA’s Objections to the Categorical Log

(which are not fully briefed), which request is an eleventh hour attempt by AMc to escape

accountability with respect to its withholding and opaque, inadequate logging of documents.



60
   See ECF No. 581, Defendants’ Response to the NRA’s Motion to Disqualify, p. 27-28.
61
   See ECF Nos. 342; 346; 365; 366; 376; 377; 379; 380; 384; 385; 387; 388; 389; 390; 393; 394 (Status Reports).
62
   See ECF No. 557, the Motion, p. 10–13.
63
   See ECF 398 at Ex. F, AMc’s First Am. Privilege Log; ECF 398 at Ex. A, AMc’s Second Am. Privilege Log; see also
ECF No. 554, Defendants’ Response in Opposition to the NRA’s Objections to Defendants’ Supplemental Categorical
Privilege Log, p. 2.

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Dated: February 28, 2022                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 28th day of

February 2022.


                                             /s/ Sarah B. Rogers
                                             Sarah B. Rogers




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